Case 3:17-cv-00072-NKM-JCH Document 60 Filed 11/01/17 Page lofi Pageid#: 214
UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff

VS. Case No: 3:17CV00072

Jason Kessler, et al.

Defendant
AFFIDAVIT OF SERVICE
I, Jim Perna, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs'
Jury Demand in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action,

_That on 10/24/2017 at 6:25 PM, I served Nationalist Front f/k/a Aryan National Alliance c/o Jeff Schoep with the Summons, Civil

Cover Sheet with Addendum, Complaint, and Plaintiffs' Jury Demand at 22803 Rausch Avenue, Eastpointe, Michigan 48021 by
serving Jeff Schoep, authorized to accept.

Jeff Schoep is described herein as: .

Gender: Male Race/Skin: White Age: 40's Weight: 180 Height: 5'9" Hair: Balding Glasses: No

Ido solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

SOL 2S/ 20/7

 

 

mm Perna ™ SN

Executed On

 

Client Ref Number:N/A
Job #: 1534665
Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
